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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


ALIGN TECHNOLOGY, INC.,

                      Plaintiff,

       v.                                                 Case No. 6:24-cv-00187

CLEARCORRECT OPERATING, LLC,
CLEARCORRECT HOLDINGS, INC., &                           JURY TRIAL DEMANDED
INSTITUT STRAUMANN AG,
                                                         RELATED CASE
                      Defendants




                   PLAINTIFF’S RULE 7.1 DISCLOSURE STATEMENT
       Plaintiff Align Technology, Inc. (“Align”) hereby submits the following statement of its

corporate interests pursuant to Rule 7.1 of the Federal Rules of Civil Procedure:

       Align has no parent corporation, and no publicly held company owns 10% or more of its

corporate stock.




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Dated: April 11, 2024                  Respectfully submitted,


                                       /s/ Brian C. Nash
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